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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  CURTIS LEE BALL,

                        Petitioner,

  v.                                                            Civil Action No. 1:06cv183
                                                                Criminal Action No. 1:05cr43
                                                                (Judge Keeley)

  UNITED STATE OF AMERICA,

                        Respondent.

                        OPINION/REPORT AND RECOMMENDATION

         On June 15, 2005, petitioner plead guilty to “aiding and abetting another person in

  unlawfully, knowingly and intentionally distributing approximately 1.27 grams of cocaine base,

  within 1000' of Monticello Avenue playground;” in violation of 21 U.S.C. § 841(a)(1),

  841(b)(1)(C) and 860. [CR DE 76]. Petitioner was sentenced on January 3, 2006, to a hundred

  and sixty-eight months. [CR DE 409]. On December 29, 2006, the pro se petitioner filed a

  Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside or Correct his Sentence. [Civ DE 1]. On

  February 13, 2007, respondent replied to the petitioner’s motion. [Civ DE 6]. Based on LR PL P

  83.01, et seq., and Standing Order No. 4, this motion is before the undersigned for a Report and

  Recommendation.

  A.   Federal Habeas Corpus

         All of petitioner’s claims are based on ineffective assistance of counsel (IAC). Petitioner

  specifically claims that:

                 (a) counsel induced the petitioner to lie to the court in reference to the stipulation

                 that petitioner’s alleged offense conduct involved not less than 150 grams nor
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                 more than 500 grams of cocaine base,

                 (b) counsel failed to object to the above stipulation in the pre-sentence report

                 recommendation,

                 (c) counsel never explained the consequences of stipulating to not less than 150

                 grams nor more than 500 grams of cocaine base,

                 (d) counsel induced the petitioner to sign the plea agreement by informing him

                 that he would only receive 30-40 months,

                 (e) counsel was ineffective in requesting that petitioner dismiss his appeal.

   [Civ DE 1 and 7].

                                      I. Standard of Review

         The Supreme Court has stated that for claims of IAC a defendant must show that (1)

  there was a deficient performance by counsel (2) and that this deficient performance prejudiced

  the defense. Strickland v. Washington, 466 U.S. 668, 692 (1984). As the Fourth Circuit has

  explained, “[a] defendant asserting an IAC claim must therefore satisfy both prongs, and a

  failure of proof on either prong ends the matter.” United States v. Roane, 378 F.3d 382, 406 (4th

  Cir. 2004). Furthermore, “if the information given by the court at the Rule 11 hearing corrects or

  clarifies the earlier erroneous information given by the defendant’s attorney and the defendant

  admits to understanding the court’s advice, the criminal justice system must be able to rely on

  the subsequent dialogue between the court and the defendant.” United States v. Lambey, 974

  F.2d 1389, 1395 (4th Cir. 1992) (en banc), cert denied, 513 U.S. 1060 (1994).

         The Supreme Court has said that in reviewing the performance of counsel, the Court must

  “eliminate the distorting effects of hindsight” and “evaluate the conduct from counsel’s



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  perspective....” Strickland, 466 U.S. at 689. Because this is such a difficult evaluation, the court

  must “indulge a strong presumption” that counsel’s conduct, trial strategy, and tactics are within

  “the wide range of reasonable professional assistance." Id. at 689. Further, “the standard of

  reasonableness is highly deferential." Kimmelman v. Morrison, 477 U.S. 365, 381 (1986).

         In order to satisfy the general prejudicial effects requirement, the defendant must show

  that there “is a reasonable probability that, but for counsel’s unprofessional errors, the result of

  the proceeding would have been different. A reasonable probability is a probability sufficient to

  undermine confidence in the outcome.” Strickland, 466 U.S. at 694. To satisfy the prejudicial

  effects requirement in reference to guilty pleas “the defendant must show that there is a

  reasonable probability that, but for counsel's errors, he would not have pleaded guilty and would

  have insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985).

                                              II. Analysis

         (a) counsel induced the petitioner to lie to the court in reference to the stipulation
         that petitioner’s alleged offense conduct involved not less than 150 grams nor more
         than 500 grams of cocaine base1.
         (b) counsel failed to object to the above stipulation in the pre-sentence report
         recommendation,


         These claims are completely without merit. During the Plea Hearing, the Court elicited

  from the petitioner that he was in fact involved in not less than 150 grams nor more than 500

  grams of cocaine base.

                 THE COURT: Okay. Ms. Pennington how did you and Mr. Ball conclude that
                 that stipulation was an accurate one?


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         Petitioner makes the argument that he told counsel that he “had only possessed
  approximately 2.5 grams of crack during the entire conspiracy, which included [his] drug habit.”
  [Civ DE 1 and 7]. This is directly refuted by his statements in the Plea Hearing.

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              MS. PENNINGTON: We had an extensive conversation about what evidence
              they had as to his relevant conduct. I just asked Mr. Ball, we discussed it and he
              agreed that that was correct.

              THE COURT: Okay. So Mr. Ball you’re not being taken on the blind here. You
              do know what the basis of that stipulation is. Is that correct?

              THE DEFENDANT: Yeah- - yes ma’am

              THE COURT: What do you mean yeah?

              THE DEFENDANT: Well, I didn’t know about all the transcripts and all that. I
              just, you know, I didn’t know where they came up with that.

              THE COURT: Okay, I’ve had a couple of other cases involving this whole
              scenario of the drugs being sold down around Monticello Avenue around the Vets
              Club and everything and there have been a couple of challenges to the amount of
              relevant conduct and we have had some sentencing hearings that involved
              witnesses and the amount of drugs went up rather than down. But, you were, I
              take it, in addition to distributing, you used?

              THE DEFENDANT: Yes ma’am

              THE COURT: You smoked and you sold, right?

              THE DEFENDANT: Yes.

              THE COURT: You sold to get crack?

              THE DEFENDANT: To smoke, yes ma’am.

              THE COURT: So, sometimes recollections are a little vague as to amounts,
              which is why the stipulations are good. Are you satisfied that, when you think
              back on things, that this is a fair representation?

              THE DEFENDANT: Yes ma’am. I was just - - I didn’t know about all the
              transcripts - -

              THE COURT: Oh, okay.

              THE DEFENDANT: Or how they come to- -

              THE COURT: How they found out about you?


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                 THE DEFENDANT: Yes, that’s something I was - -

                 THE COURT: Okay. It’s called witnesses before the grand jury.

   [CR DE 409] at 34-36 (emphasis added).

         This clearly shows that petitioner was not induced to lie to the Court. In addition, there is

  nothing in the record to indicate that the Defendant violated his oath and committed perjury

  while testifying under oath in response to questions put to him by the Court. Inasmuch as

  petitioner told the Court under oath that his relevant drug conduct was within the range set forth

  in the stipulation, there would be no basis for his lawyer to contradict him by objecting to the

  stipulation. Therefore, the undersigned finds these claims to be without merit.

         (c) counsel never explained the consequences of stipulating to not less than 150
         grams nor more than 500 grams of cocaine base,

         This claim is also without merit. Even if the Court was to accept that petitioner’s counsel

  never explained the consequences of the stipulation, they were explained to him by the court.

                 THE COURT: Okay. Now obviously, the parties here, you and the Government,
                 have looked at what you would expect your case - - your sentence to be because
                 in looking over paragraph seven and - - which is what the stipulated amount of
                 drugs involved in the one count is, and looking over paragraph twelve, I see that
                 by - - and also, I’m sorry, I’m looking for the relevant conduct - - yeah, it’s in
                 paragraph nine, that you have agreed that at least one hundred and fifty but less
                 than five hundred grams of cocaine base is involved here. So, we know that the
                 sentence is going to longer [sic] than a year and under the guidelines, it’s going to
                 be calculated based on one hundred and fifty but less than five hundred grams of
                 crack cocaine, right?

                 THE DEFENDANT: Yes ma’am.

                 THE COURT: And we know that it’s also going to look - - the guidelines require
                 that I look at your prior criminal history, if any. That’s not set out in the plea
                 agreement and I don’t know what that is but, as you are aware, under the
                 guidelines system that will drive up the length of your sentence if you have a long
                 or extended criminal history, right?



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                 THE DEFENDANT: Yes ma’am.

                 THE COURT: . . . Under the guidelines, once your criminal history and your
                 drug weight is calculated, if there are no other factors that would enhance your
                 sentence, those two things will drive the guideline range determination in your
                 case.

                 ...

                 THE COURT: . . .Okay. So, you are aware generally then of what kind of
                 sentencing range the guidelines would put you in, is that right?

                 THE DEFENDANT: Yes ma’am.

                 THE COURT: Okay. I don’t know what your criminal history category is. So, all
                 I know is that, if you were at a level thirty-five, and that is, of course, before
                 acceptance of responsibility as you all understand these terms, that would be a
                 hundred and sixty eight to two hundred and ten months.

   [CR DE 409] at 16-19.

         The Court clearly walked the petitioner through what the stipulation meant by showing

  him that the calculation of the guidelines was going to be based on at least one hundred and fifty

  but less than five hundred grams of cocaine. The Court even went so far as to tell petitioner how

  much time he might be facing which shows that the petitioner was fully informed about the

  consequences of the stipulation. Therefore, there is no evidence to support the proposition that

  but for counsel’s errors, petitioner would have gone to trial as opposed to accepting the plea.

                 (d) counsel induced the petitioner to sign the plea agreement by informing

                 him that he would only receive thirty to forty months,

         A claim of ineffective assistance of counsel for inaccurately predicting a sentence, should

  be rejected. See United States v. Foster, 68 F.3d 86-87-88 (4th Cir. 1995); (United States v.

  Lambey, 974 F.2d 1389 (4th Cir. 1992). The overwhelming weight of the evidence shows that

  this claim is without merit. Petitioner was informed by the Court about the amount of time in


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  prison that he might receive. [CR DE 409] at 16-19.

                 THE COURT: Okay. I want to make sure before I take a plea from somebody
                 like you, Mr. Ball, that you know what kind of time you may be looking at with
                 the understanding that I don’t yet know what your sentence may be and you - -
                 and I can’t figure that out with definiteness or with any definite nature until the
                 date of your sentencing. Are you aware of that?

                 THE DEFENDANT: Yes ma’am

                 ...

                 THE COURT: Okay, very well. So, Mr. Ball, you understand that what I’m
                 doing here is just outlining for you possible ranges in which your sentence may
                 fall so that you don’t come in at a sentencing hearing and say I’m completely
                 surprised by this; this is not what I expected; it’s not what I intended and I didn’t
                 want to do that plea. I wouldn’t have done it if I had known this.

                 THE DEFENDANT: Yes ma’am.


  [CR DE 409] at 19-20.

         Even if petitioner’s counsel informed him that he would only receive thirty to forty

  months, petitioner was informed by the Court that the amount of time he would receive was

  around a hundred and sixty eight to two hundred and ten months2. Furthermore, while the Court

  stated that it was just an estimation, it was still a good benchmark for the petitioner to fully

  understand how much time he was facing. After giving estimations, the Court explicitly asked if

  petitioner understood what the sentencing range might be, to which the petitioner answered yes.

  Therefore, petitioner’s claim is without merit.

                 (e) counsel was ineffective in requesting that petitioner dismiss his appeal.

         Beyond showing that appellate counsel was deficient, petitioner must also show a

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          There is a large disparity between thirty to forty months and one hundred and sixty eight
  to two hundred and ten months. It is unclear to the undersigned why the petitioner would not
  have raised this issue in Court.

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  “reasonable probability that, but for . . . appellate counsel's unreasonable failures, he would have

  prevailed on his appeal.” United States v. Daniels, 2008 U.S. Dist. LEXIS 26784 (D.S.C. Apr. 1,

  2008) (citing Smith v. Robbins, 528 U.S. 259, 285-86, 120 S. Ct. 746, 145 L. Ed. 2d 756

  (2000)). The evidence in the record does not support the petitioner’s assertion. Petitioner’s

  Motion of Voluntary Dismissal stated,

                 The purpose of filing the notice of appeal in this case was to raise the issue(s)
                 relating to the sentencing guideline calculations and Congress’ policy decision to
                 implement a 100:1 crack cocaine to powder cocaine ratio. In addition, the
                 Appellant in this case intended to argue that United States v. Booker, 125 S. Ct.
                 738 (2005) and United States v. Hughes, 401 F.3d 540, 546 (4th Cir. 2005) were
                 relevant factors to be considered by the District Court when calculating the
                 applicable sentencing guideline range and making a final sentencing
                 determination in a case involving the distribution of crack cocaine. Pursuant to
                 Rule 42(b), the Appellant moves to dismiss this appeal from the docket of the
                 Court of Appeals for the Fourth Circuit. The Appellant’s decision to move for
                 voluntary dismissal is based in part on the recent ruling by this Honorable Court
                 in the case of United States v. Vincent C. Eura. The Court’s recent decision in
                 Eura is contrary to the position of the Appellant in this appeal. Accordingly,
                 the Appellant moves to have this case dismissed.

  Ball v. United States, 06-4049 (4th Cir. 2006) at dckt. no. 13 (emphasis added).

         Without directly addressing whether petitioner’s counsel was deficient, it is clear that had

  the petitioner gone forward he would have lost his appeal. This is directly admitted within the

  text of the Motion of Voluntary Dismissal. Therefore, the petitioner has not met and cannot meet

  the prejudice prong of an ineffective assistance of counsel claim.

                                       III. Recommendation

                 Based upon a review of the record, the undersigned recommends that the

  Loveridge’s §2255 motion be DENIED and DISMISSED from the Court’s active docket




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  because he has not shown that counsel was ineffective3.

         Within ten (10) days after being served with a copy of this report and recommendation,

  any party may file with the Clerk of Court written objections identifying those portions of the

  recommendation to which objection is made and the basis for such objections. A copy of any

  objections shall also be submitted to the Honorable Irene M. Keeley, United States District

  Judge. Failure to timely file objections to this recommendation will result in waiver of the right

  to appeal from a judgment of this Court based upon such recommendation. 28 U.S.C. §

  636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985);

  United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

         The Clerk is directed to send a copy of this Opinion/Report and Recommendation to the pro



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           The undersigned notes that the government also argues that the petitioner waived his
  collateral rights under the waiver provision of the plea agreement:

                 The above paragraph notwithstanding, the defendant will retain his appellate
                 rights with respect to any sentence imposed above the applicable Guideline range
                 at an adjusted offense level 36 or higher. This reservation of rights is designed to
                 ensure that the United States and the defendant retain the benefits of the plea
                 agreement. It is not intended to represent the defendant’s estimation of what an
                 appropriate or reasonable sentence would or should be. Nor does this reservation
                 of rights prevent the defendant from arguing for a sentence below the
                 aforementioned adjusted Guideline offense levels. The United States will retain
                 its right to appeal any sentence imposed below the applicable Guideline range at
                 an adjusted offense level 31 or lower.

  [CR DE 76].

          Although the transcript of the petitioner’s Rule 11 hearing showed that the Court
  informed the petitioner that the aforementioned waiver of his appellate rights might include a
  waiver of his right to collaterally attack his sentence under § 2255, the undersigned is not
  convinced that this waiver is sufficient enough to successfully bar review of the petitioner’s §
  2255 petition, particularly when a part of that claim is based on post plea alleged ineffective
  assistance of counsel. Nevertheless, the undersigned need not reach that question because the
  petitioner’s underlying claim is without merit.

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   se petitioner by certified mail, return receipt requested, to his last known address as shown on the

   docket. The Clerk is further directed to provide copies of this Opinion/Report and Recommendation

   to all counsel of record, as applicable, as provided in the Administrative Procedures for Electronic

   Case Filing in the United States District Court for the Northern District of West Virginia.

          DATED: June 18, 2008


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                                                        JOHN S. KAULL
                                                        UNITED STATES MAGISTRATE JUDGE




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